               Case 23-42106-mxm7                          Doc 1       Filed 07/21/23 Entered 07/21/23 09:59:51                               Desc Main
                                                                       Document Page 1 of 9
 Fill in this information to identify the case:

 United States Bankruptcy Court for the:
                                Northern District of Texas


 Case number (if known):                                            Chapter       7                                                     ❑ Check if this is an
                                                                                                                                            amended filing

Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                                        06/22
If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor’s name and the case number (if known). For
more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.



    1. Debtor's name                              Acuity Advisors LLC



    2. All other names debtor used
       in the last 8 years

     Include any assumed names,
     trade names, and doing business
     as names



    3. Debtor's federal Employer                  8      4 – 3     7   2    0    9    4   3
       Identification Number (EIN)



    4. Debtor's address                           Principal place of business                                   Mailing address, if different from principal place of
                                                                                                                business

                                                  8 The Green A                                                  2621 Huntly Lane
                                                  Number           Street                                       Number        Street

                                                                                                                 c/o Brent Simpson
                                                                                                                P.O. Box
                                                  Dover, DE 19901
                                                  City                                    State   ZIP Code       Flower Mound, TX 75022
                                                                                                                City                              State      ZIP Code


                                                  Kent                                                          Location of principal assets, if different from principal
                                                  County                                                        place of business


                                                                                                                Number        Street




                                                                                                                City                              State      ZIP Code




    5. Debtor's website (URL)



    6. Type of debtor                             ❑      Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))

                                                  ❑      Partnership (excluding LLP)

                                                  ✔
                                                  ❑      Other. Specify:        Limited Liability Company




Official Form 201                                          Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                 page 1
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Debtor      Acuity Advisors LLC                                                                                  Case number (if known)
           Name
                                                A. Check one:
    7. Describe debtor's business
                                                ❑ Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                                ❑ Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                                ❑ Railroad (as defined in 11 U.S.C. §101(44))
                                                ❑ Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                                ❑ Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                                ❑ Clearing Bank (as defined in 11 U.S.C. §781(3))
                                                ✔ None of the above
                                                ❑
                                                B. Check all that apply:
                                                ❑    Tax-exempt entity (as described in 26 U.S.C. §501)

                                                ❑    Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C. § 80a-3)

                                                ❑    Investment advisor (as defined in 15 U.S.C. § 80b-2(a)(11))


                                                C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor. See
                                                   http://www.uscourts.gov/four-digit-national-association-naics-codes .


    8. Under which chapter of the               Check one:
       Bankruptcy Code is the                   ✔
                                                ❑    Chapter 7
       debtor filing?

     A debtor who is a “small business
                                                ❑    Chapter 9
     debtor” must check the first subbox. A     ❑    Chapter 11. Check all that apply:
     debtor as defined in § 1182(1) who
     elects to proceed under subchapter V             ❑     The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D), and its aggregate
     of chapter 11 (whether or not the                      noncontingent liquidated debts (excluding debts owed to insiders or affiliates) are less than
     debtor is a “small business debtor”)                   $3,024,725. If this sub-box is selected, attach the most recent balance sheet, statement of
     must check the second sub-box                          operations, cash-flow statement, and federal income tax return or if any of these documents do not
                                                            exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
                                                      ❑     The debtor is a debtor as defined in 11 U.S.C. § 1182(1), its aggregate noncontingent liquidated
                                                            debts (excluding debts owed to insiders or affiliates) are less than $7,500,000, and it chooses to
                                                            proceed under Subchapter V of Chapter 11. If this sub-box is selected, attach the most recent
                                                            balance sheet, statement of operations, cash-flow statement, and federal income tax return, or if
                                                            any of these documents do not exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
                                                      ❑     A plan is being filed with this petition.

                                                      ❑     Acceptances of the plan were solicited prepetition from one or more classes of creditors, in
                                                            accordance with 11 U.S.C. § 1126(b).
                                                      ❑     The debtor is required to file periodic reports (for example, 10K and 10Q) with the Securities and
                                                            Exchange Commission according to § 13 or 15(d) of the Securities Exchange Act of 1934. File the
                                                            Attachment to Voluntary Petition for Non-Individuals Filing for Bankruptcy under Chapter 11
                                                            (Official Form 201A) with this form.
                                                      ❑     The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule 12b-2.

                                                ❑    Chapter 12

    9. Were prior bankruptcy cases filed        ✔ No
                                                ❑
       by or against the debtor within the
       last 8 years?
                                                ❑ Yes.   District                                       When                    Case number
                                                                                                               MM / DD / YYYY
     If more than 2 cases, attach a                       District                                      When                     Case number
     separate list.                                                                                            MM / DD / YYYY

  10. Are any bankruptcy cases pending          ✔ No
                                                ❑
      or being filed by a business partner
      or an affiliate of the debtor?            ❑ Yes.   Debtor                                                                 Relationship

     List all cases. If more than 1, attach a             District                                                               When
     separate list.                                                                                                                            MM / DD / YYYY
                                                          Case number, if known




Official Form 201                                    Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                page 2
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Debtor        Acuity Advisors LLC                                                                            Case number (if known)
             Name


  11. Why is the case filed in this   Check all that apply:
      district?
                                      ✔ Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days
                                      ❑
                                         immediately preceding the date of this petition or for a longer part of such 180 days than in any other
                                         district.

                                      ❑ A bankruptcy case concerning debtor’s affiliate, general partner, or partnership is pending in this district.
  12. Does the debtor own or have     ✔ No
                                      ❑
      possession of any real
      property or personal property
                                      ❑ Yes. Answer below for each property that needs immediate attention. Attach additional sheets if needed.
      that needs immediate                      Why does the property need immediate attention? (Check all that apply.)
      attention?                                ❑     It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                                      What is the hazard?


                                                ❑     It needs to be physically secured or protected from the weather.
                                                ❑     It includes perishable goods or assets that could quickly deteriorate or lose value without attention
                                                      (for example, livestock, seasonal goods, meat, dairy, produce, or securities-related assets or other
                                                      options).
                                                ❑     Other
                                                Where is the property?
                                                                           Number         Street




                                                                           City                                           State       ZIP Code
                                                Is the property insured?
                                                ❑ No
                                                ❑ Yes.        Insurance agency
                                                              Contact name
                                                              Phone

          Statistical and administrative information

         13. Debtor’s estimation of   Check one:
             available funds?         ❑ Funds will be available for distribution to unsecured creditors.
                                      ✔ After any administrative expenses are paid, no funds will be available for distribution to unsecured
                                      ❑
                                         creditors.

         14. Estimated number of
                                       ✔
                                       ❑    1-49 ❑ 50-99                  ❑       1,000-5,000 ❑ 5,001-10,000          ❑    25,001-50,000 ❑ 50,000-100,000
             creditors                 ❑    100-199 ❑      200-999        ❑       10,001-25,000                       ❑    More than 100,000


         15. Estimated assets
                                       ✔
                                       ❑    $0-$50,000                       ❑      $1,000,001-$10 million                ❑       $500,000,001-$1 billion
                                       ❑    $50,001-$100,000                 ❑      $10,000,001-$50 million               ❑       $1,000,000,001-$10 billion
                                       ❑    $100,001-$500,000                ❑      $50,000,001-$100 million              ❑       $10,000,000,001-$50 billion
                                       ❑    $500,001-$1 million              ❑      $100,000,001-$500 million             ❑       More than $50 billion




Official Form 201                               Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                    page 3
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                                                                   Document Page 4 of 9
Debtor        Acuity Advisors LLC                                                                                   Case number (if known)
             Name



                                            ❑    $0-$50,000                            ❑   $1,000,001-$10 million                  ❑   $500,000,001-$1 billion
         16. Estimated liabilities
                                            ❑    $50,001-$100,000                      ❑   $10,000,001-$50 million                 ❑   $1,000,000,001-$10 billion
                                            ❑    $100,001-$500,000                     ❑   $50,000,001-$100 million                ❑   $10,000,000,001-$50 billion
                                            ✔
                                            ❑    $500,001-$1 million                   ❑   $100,000,001-$500 million               ❑   More than $50 billion



           Request for Relief, Declaration, and Signatures


 WARNING --           Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to $500,000 or
                      imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.


         17. Declaration and signature of            The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this
             authorized representative of            petition.
             debtor
                                                     I have been authorized to file this petition on behalf of the debtor.

                                                     I have examined the information in this petition and have a reasonable belief that the information is true
                                                     and correct.

                                                I declare under penalty of perjury that the foregoing is true and correct.

                                                    Executed on     07/21/2023
                                                                    MM/ DD/ YYYY



                                                ✘ /s/ Dana Simpson                                                     Printed name
                                                                                                                                          Dana Simpson
                                                    Signature of authorized representative of debtor


                                                    Title                         Member



         18. Signature of attorney
                                                ✘                        /s/ David Shuster                             Date      07/21/2023
                                                                                                                                 MM/ DD/ YYYY
                                                    Signature of attorney for debtor



                                                     David Shuster
                                                    Printed name

                                                     Shuster Law, PLLC
                                                    Firm name

                                                     860 Hebron Pkwy 303
                                                    Number          Street


                                                     Lewisville                                                           TX              75057
                                                    City                                                                 State            ZIP Code



                                                     (972) 315-6222                                                        david@shusterlawfirm.com
                                                    Contact phone                                                         Email address



                                                     24037491                                                              TX
                                                    Bar number                                                            State




Official Form 201                                    Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                    page 4
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 Fill in this information to identify the case:

 Debtor name                              Acuity Advisors LLC

 United States Bankruptcy Court for the:
                                Northern District of Texas


 Case number (if known):                                                                                                              ❑ Check if this is an
                                                                                                                                         amended filing

Official Form 202
Declaration Under Penalty of Perjury for Non-Individual Debtors                                                                                               12/15
An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and submit this form for the
schedules of assets and liabilities, any other document that requires a declaration that is not included in the document, and any amendments of those
documents. This form must state the individual’s position or relationship to the debtor, the identity of the document, and the date. Bankruptcy Rules 1008
and 9011.

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in connection with
a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.



          Declaration and signature

         I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the partnership; or another individual
         serving as a representative of the debtor in this case.
         I have examined the information in the documents checked below and I have a reasonable belief that the information is true and correct:

         ❑     Schedule A/B: Assets–Real and Personal Property (Official Form 206A/B)

         ❑     Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)

         ❑     Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)

         ❑     Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)

         ❑     Schedule H: Codebtors (Official Form 206H)

         ❑     A Summary of Assets and Liabilities for Non-Individuals (Official Form 206A-Summary)

         ❑     Amended Schedule

         ❑     Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and Are Not Insiders (Official Form 204)

         ❑     Other document that requires a declaration




         I declare under penalty of perjury that the foregoing is true and correct.



         Executed on     07/21/2023
                          MM/ DD/ YYYY
                                                                            ✘ /s/ Dana Simpson
                                                                                Signature of individual signing on behalf of debtor


                                                                                Dana Simpson
                                                                                Printed name


                                                                                Member
                                                                                Position or relationship to debtor



Official Form B202                                 Declaration Under Penalty of Perjury for Non-Individual Debtors
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B2030 (Form 2030) (12/15)


                                                            United States Bankruptcy Court
                                                                                  Northern District of Texas

In re        Acuity Advisors LLC

                                                                                                                           Case No.

Debtor                                                                                                                     Chapter                       7


                                         DISCLOSURE OF COMPENSATION OF ATTORNEY FOR DEBTOR

1.      Pursuant to 11 U .S.C. § 329(a) and Fed. Bankr. P. 2016(b), I certify that I am the attorney for the above named debtor(s) and that
        compensation paid to me within one year before the filing of the petition in bankruptcy, or agreed to be paid to me, for services rendered
        or to be rendered on behalf of the debtor(s) in contemplation of or in connection with the bankruptcy case is as follows:

        For legal services, I have agreed to accept ................................................................................................................................................
                                                                                                                                                                       $5,000.00

        Prior to the filing of this statement I have received ................................................................................................................................................
                                                                                                                                                                      $5,000.00

        Balance Due ................................................................................................................................................            $0.00

2.      The source of the compensation paid to me was:

        ✔ Debtor
        ❑                                ❑ Other (specify)
3.      The source of compensation to be paid to me is:

        ✔ Debtor
        ❑                                ❑ Other (specify)
4.      ✔
        ❑     I have not agreed to share the above-disclosed compensation with any other person unless they are members and associates of my
        law firm.

        ❑     I have agreed to share the above-disclosed compensation with a other person or persons who are not members or associates of my
        law firm. A copy of the agreement, together with a list of the names of the people sharing in the compensation, is attached.

5.      In return for the above-disclosed fee, I have agreed to render legal service for all aspects of the bankruptcy case, including:

        a.      Analysis of the debtor' s financial situation, and rendering advice to the debtor in determining whether to file a petition in
                bankruptcy;

        b.      Preparation and filing of any petition, schedules, statements of affairs and plan which may be required;

        c.      Representation of the debtor at the meeting of creditors and confirmation hearing, and any adjourned hearings thereof;

6.      By agreement with the debtor(s), the above-disclosed fee does not include the following services:




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B2030 (Form 2030) (12/15)


                                                             CERTIFICATION

                        I certify that the foregoing is a complete statement of any agreement or arrangement for payment to
                me for representation of the debtor(s) in this bankruptcy proceeding.

                        07/21/2023                                               /s/ David Shuster
                Date                                         David Shuster
                                                             Signature of Attorney
                                                                                             Bar Number: 24037491
                                                                                                 Shuster Law, PLLC
                                                                                              860 Hebron Pkwy 303
                                                                                               Lewisville, TX 75057
                                                                                             Phone: (972) 315-6222

                                                                               Shuster Law, PLLC
                                                            Name of law firm




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                                                IN THE UNITED STATES BANKRUPTCY COURT
                                                      NORTHERN DISTRICT OF TEXAS
                                                          FORT WORTH DIVISION

IN RE: Acuity Advisors LLC                                                            CASE NO

                                                                                      CHAPTER 7




                                                  VERIFICATION OF CREDITOR MATRIX

 The above named Debtor hereby verifies that the attached list of creditors is true and correct to the best of his/her knowledge.


Date      07/21/2023            Signature                                 /s/ Dana Simpson
                                                                         Dana Simpson, Member
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                               Attorney General Of Texas
                               Bankruptcy Section
                               P.O. BOX 12548
                               Austin, TX 78711



                               Internal Revenue Service
                               1100 Commerce Street MC 5026 DAL
                               Dallas, TX 75242




                               Internal Revenue Service
                               Centralized Insolvency Operations
                               PO Box 7346
                               Philadelphia, PA 19101-7346



                               Kurt Knapton
                               c/o Curnutt & Hafer, LLP
                               301 W Abram Street
                               Arlington, TX 76010



                               U.S. Department of Education
                               400 Maryland Ave Sw
                               Washington, DC 20202-0001




                               U.S. Trustee
                               1100 Commerce St Ste 976
                               Dallas, TX 75242-0996
